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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

FRASER ET AL.,

Plaintiff,
Vv. Case No. 3:22-cv-410
BUREAU OF ALCOHOL, TOBACCO,

AND FIREARMS, ET AL.,
Defendant.

ORDER

This matter is before the Court on the DEFENDANT’S MOTION TO
DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT (ECF No. 21) and
PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT (ECF No. 28). Having
studied the briefing, the Court is of the view that the parties do
not provide adequate historical information that this Court
requires to fully evaluate the matters before it. It is hereby
ORDERED that the parties shall file supplemental authority
including:

(1) The laws governing militias in each state in effect on
June 8, 1789; and

(2) Any changes to state militia laws between January 1, 1784
and December 15, 1791.

The supplemental authority shall be filed according to the

following schedule:
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(A) On February 3, 2023, the Government shall file a table
detailing the requested laws and citations. The Government shall
also attach full and complete copies of each of the original
statutes; and

(B) On February 10, 2023, the Plaintiffs shall file either a
stipulation to the Government’s historical sources or additional
supplemental authority.

In no way does this ORDER prevent the Court from conducting
its own, additional historical research on these topics.

It is SO ORDERED.

/s/ fat

Robert E. Payne
Senior United States District Judge

Richmond, Virginia
Date: January LS, 2023
